Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 1 of 11




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-cv-1710-KMT

ROGER HILL,

       Plaintiff,

v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO,

       Defendants.


                    THE STATE OF COLORADO’S
     RESPONSE TO PLAINTIFF’S MOTION TO CERTIFY A QUESTION TO
            THE COLORADO SUPREME COURT [ECF NO. 43]


       Plaintiff asks this Court to certify to the Colorado Supreme Court “the

question of the nature of the State of Colorado’s title in navigable riverbeds.” ECF

No. 43, p.1. This Court should deny the motion to certify. As a preliminary matter,

Plaintiff has not proven subject-matter jurisdiction in any court. Plaintiff’s motion

thus attempts to bypass jurisdictional requirements to obtain an advisory opinion

from the Colorado Supreme Court. Yet without jurisdiction, this Court cannot

certify a question of law to the Colorado Supreme Court, nor can the Colorado

Supreme Court answer the question. Because Plaintiff has not yet proven that this

Court has jurisdiction, this Court should deny the motion.

       Independent from the jurisdictional issue, the Court should deny the motion

to certify because Plaintiff fails to prove that the proposed question for certification


                                            1
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 2 of 11




is both dispositive of the case and unsettled under Colorado law. In fact, Plaintiff

himself argues the question for certification is not dispositive of the case because

neither the motion for remand nor the motions to dismiss require the Court to

answer the question. Thus, the Colorado Supreme Court’s opinion on that question

would be advisory and not dispositive. Plaintiff also has not established that the

question is unsettled in Colorado. The Colorado Supreme Court has held that the

Colorado Constitution does not include the public trust doctrine. And repeated

unsuccessful attempts to amend the Colorado Constitution to include a public trust

only confirm that the doctrine does not exist in Colorado. Furthermore, Colorado

statutes do not create an unfettered right to fish on lands to which the State holds

title, which is an essential underlying part of Plaintiff’s claim. For these reasons,

the Court should deny Plaintiff’s motion to certify to the Colorado Supreme Court

the question of the nature of the State of Colorado’s title in navigable riverbeds.

      Separate from the above reasons for denying the motion, the motion also

confirms that the Court should grant Defendants’ motion to dismiss the First

Amended Complaint. That is because Plaintiff requests certification of an issue that

is contrary to the legal conclusions underlying his asserted claims for relief.

Specifically, the First Amended Complaint relies upon the erroneous legal

conclusion that the federal doctrine of navigability-for-title guarantees Plaintiff a

right to fish. Yet, the motion for certification now concedes that state law governs

Plaintiff’s right to fish on navigable riverbeds. Because Plaintiff’s First Amended

Complaint relies upon an erroneous legal conclusion, the Court should not certify



                                           2
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 3 of 11




any question to the Colorado Supreme Court and should instead dismiss the First

Amended Complaint.

I.    The Court should not certify a question to the Colorado Supreme
      Court before Plaintiff proves jurisdiction.

      Currently pending before this Court are Defendants’ motions to dismiss for

lack of jurisdiction, ECF Nos. 21, 27, and Plaintiff’s motion to remand for lack of

jurisdiction, ECF No. 28. As explained in the State’s briefing on those motions, both

this Court and the state court from which the case was removed lack subject-matter

jurisdiction over the First Amended Complaint because, among other reasons,

Plaintiff lacks both constitutional and prudential standing to litigate the State’s

title in lands. E.g., ECF. No. 34, pp. 3–4 (“The defects in this case will not

disappear if this Court grants Plaintiff’s remand motion. State law is clear that

Plaintiff lacks authority to litigate the State’s perceived title in lands even in state

court.”). Thus, even if the Colorado Supreme Court were to accept and decide

Plaintiff’s proposed certified question now, both this Court and the state court

might later determine that they lack subject-matter jurisdiction over Plaintiff’s

claims. In that scenario, any decision by the Colorado Supreme Court would be an

improper advisory opinion. See Farmers Ins. Exch. v. Dist. Court for Fourth

Judicial Dist., 862 P.2d 944, 947 (Colo. 1993) (“A declaratory judgment action is

only appropriate when the rights asserted by the plaintiff are present and

cognizable ones. It calls, not for an advisory opinion upon a hypothetical basis, but

for an adjudication of present right upon established facts.”) (internal quotations




                                            3
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 4 of 11




omitted). Because Plaintiff has not met its burden of proving subject-matter

jurisdiction in any court, the Court should deny the motion to certify.

II.   The Court should deny the motion for certification because Plaintiff
      has failed to demonstrate that the question is both dispositive and
      unsettled under Colorado law.

      Whether to certify a question of state law to the state Supreme Court is

within the discretion of the federal court. Lehman Brothers v. Schein, 416 U.S. 386,

391–392 (1974); Holler v. United States, 724 F.2d 104, 105–06 (10th Cir. 1983).

Colorado permits federal courts to certify questions directly to the Colorado

Supreme Court if: (i) the question of state law would be dispositive of the case, and

(ii) it appears that there is no controlling precedent from the Colorado Supreme

Court on the issue. Colo. App. R. 21.1 (2018). The federal court should deny

certification where it can apply existing state law to resolve the case. Phoenix Ins.

Co. v. Heska Corp., No. 15-CV-2435-MSK-KMT, 2017 WL 3190380, at *3 (D. Colo.

July 26, 2017). Because Plaintiff’s motion fails to demonstrate that the question is

dispositive and unsettled under Colorado law, the Court should deny the motion.

      A.     Plaintiff concedes that the proposed question is not
             dispositive.

      Plaintiff concedes that the question he proposes for certification is not

dispositive of the case and argues that this Court need not even reach the issue.

ECF No. 43, p. 1 (“Plaintiff, of course, believes that this Court need not reach the

issue of the nature of the State’s title.”); id. (“The issue does not bear on whether

the Court should remand for lack of subject matter jurisdiction.”). For this reason

alone, the Court should deny the motion.


                                           4
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 5 of 11




      B.     Colorado law does not create an unfettered right to fish.

      Although never stated expressly, Plaintiff’s motion for certification implies

that under state law, if the State has title in navigable riverbeds, that title is

automatically encumbered by a public trust granting Plaintiff an unfettered right to

fish. Yet, neither the Colorado Constitution nor any statute creates such a public

trust. Nor does any statute create an unfettered right to fish. Thus, even if the

State held title to lands underlying navigable streams, Plaintiff would not be

guaranteed a right to fish. The law in Colorado is not unsettled on this point, and

the Court should deny Plaintiff’s motion.

             i.     There is no public trust in Colorado creating a
                    Constitutional right to fish.

      The Colorado Constitution does not create a public trust in the State’s

navigable streams or other natural resources. See City of Longmont v. Colorado Oil

& Gas Ass'n, 369 P.3d 573, 586 (Colo. 2016) (“The Colorado Constitution does not

include a [public trust]…”). This is contrary to the approach taken in some other

States. See, e.g., Haw. Const. art. XI, § 1 (“All public natural resources are held in

trust by the State for the benefit of the people.”). In Colorado, public rights in the

waters of natural streams are enumerated in Colo. Const. Art. 16, § 5. Those rights

are limited: section 5 “preserve[s] the historical appropriation system of water

rights upon which the irrigation economy in Colorado was founded”; it does not

“assure public access to waters for purposes other than appropriation.” People v.

Emmert, 597 P.2d 1025, 1028 (Colo. 1979) (citing Colo. Const. Art. 16, § 5). Thus,

the Colorado Constitution preserves the historical system of prior appropriation and


                                            5
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 6 of 11




nothing more. Id. As applied to the facts of Emmert, that meant that section 5 does

not create a public right to float on non-navigable streams. Id. This Court can

apply the same reasoning to the facts of this case; Art. 16, §5 does not create a right

to fish. Therefore, the Court should deny Plaintiff’s motion. See Phoenix Ins. Co.,

2017 WL 3190380, at *3 (holding that the federal court should deny certification

where it can apply existing state law to resolve the case).

      The limited purpose of Art. 16, §5 is confirmed by numerous failed attempts

to amend Art. 16, §5 to create a public trust. See Matter of Title, Ballot Title,

Submission Clause, & Summary Adopted Mar. 20, 1996, By the Title Bd. Pertaining

to Proposed Initiative 1996-6, 917 P.2d 1277, 1278 n.2 (Colo. 1996) (quoting

proposed initiative1996-6: “The State of Colorado shall adopt, and defend, a public

trust doctrine to protect the public’s rights and ownership in and of the waters in

Colorado, and to protect the natural environment.”); Matter of Title, Ballot Title,

Submission Clause, & Summary Adopted Apr. 5, 1995, by Title Bd. Pertaining to a

Proposed Initiative Pub. Rights in Waters II, 898 P.2d 1076, 1077 (Colo. 1995), as

modified on denial of reh’g (July 31, 1995) (quoting proposed amendment “to adopt

and defend a strong public trust doctrine regarding the public’s rights and

ownerships in and of the waters in Colorado”). A pair of initiatives even sought to

amend Art. 16, §5 to create public access to streams in Colorado. In re Title, Ballot

Title, Submission Clause for 2011-2012 No. 3, 2012 CO 25, ¶ 2, 274 P.3d 562, 564

(describing proposed amendments to Art. 16, §5 to create public access “along, and

on, the wetted natural perimeter” of any “natural stream in Colorado,” and would



                                           6
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 7 of 11




extend this public access right to the “naturally wetted high water mark of the

stream.”). The initiatives failed to become law and Art. 16, §5 remains the same as

it was in Emmert.

      These efforts to expand the scope of Art. 16, §5 to create a public trust and

public fishing access to natural streams confirm that neither exists. If the public

trust or public fishing rights were already guaranteed by Art. 16, §5, the proposed

amendments would have been unnecessary. Because the Colorado Constitution

does not recognize the public trust or public fishing access to natural streams, the

question is settled and this Court should deny Plaintiff’s motion for certification.

             ii.    Colorado statues do not guarantee a right to unfettered
                    fishing on State-owned lands.

      Nor has the Colorado General Assembly created an unfettered right to fish in

rivers to which the State has title. This also differs from the practice in some other

States. See, e.g., Ariz. Rev. Stat. Ann. § 37-1101 (defining public trust land to

include the bed of navigable watercourses and defining public trust purposes to

include navigation and fishing). Instead, in Colorado, fishing and public access to

State lands are managed by various agencies, including the Parks and Wildlife

Commission. Colo. Rev. Stat. Ann. § 33-10-101 (West); §33-10-102 (authorizing the

Commission to manage a variety of recreational activities, including fishing, within

the State’s “natural, scenic, scientific, and outdoor recreation areas”). The

Commission manages fishing on State lands owned in fee, as well as those “under

the control of the Commission.” §33-10-102(23)–(24). Public rights to fish on those

lands are limited. The Commission charges fees for the use of parks and recreation

                                           7
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 8 of 11




areas, § 33-10-101(d), and may restrict or limit “the use of any such area either as to

time, manner, or permitted activities” through rulemaking. §33-10-106(2)(b). Thus,

there is no statutory right guaranteeing Plaintiff an unfettered right to fish on

State-owned lands. Because it is settled that Colorado statutes do not guarantee an

unfettered right to fish on State-owned lands, the Court should deny Plaintiff’s

motion.

III.   The motion for certification demonstrates that the First Amended
       Complaint is based on the erroneous conclusion that the federal
       doctrine of navigability-for-title provides Plaintiff an enforceable
       right to fish on navigable streams.

       Independent of the question of certification, Plaintiffs’ motion confirms that

the First Amended Complaint should be dismissed. In reviewing the pending

motions to dismiss under Rule 12(b)(6), the Court need not accept the validity of

legal conclusions. See Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 878 (10th

Cir. 2017). If the First Amended Complaint is based on an erroneous legal

conclusion—specifically, that federal law provides Plaintiff a right of action—it

must be dismissed. Id. at 902 (“Such litigation cannot occur unless the” plaintiff

“has been given a federal right of” his or her “own to vindicate ... under the ...

statute at issue.”) (quoting Va. Office for Prot. & Advocacy v. Stewart, 563 U.S. 247,

260 (2011)).

       Here, the First Amended Complaint is based on the erroneous legal

conclusion that the federal doctrine of navigability-for-title provides Plaintiff a right

of action to enforce its fishing rights in navigable streams. See ECF No. 13, p. 8

(“[T]he disputed portion of the bed of the Arkansas River is public land owned by


                                            8
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 9 of 11




the state of Colorado and held in trust for the people of Colorado by virtue of it

being navigable for title when Colorado became a state. Accordingly, he is not

trespassing by wading in that portion of the River.”); see also ECF No. 35, p. 5

(arguing that the “nature of state ownership of the bed of navigable waters” is an

“issue of federal law” that “[n]o Colorado Courts have examined”). Yet, the motion

for certification now concedes that any right to access navigable streams in

Colorado is a matter of state law. ECF No. 43, p. 4 (admitting that the scope “of the

public’s rights to navigable riverbeds is left to state law”); accord PPL Montana,

LLC v. Montana, 565 U.S. 576, 603–04 (2012) (“Under accepted principles of

federalism, the States retain residual power to determine the scope of the public

trust over waters within their borders, while federal law determines riverbed title

under the equal-footing doctrine.”).

      Because all of the claims in the First Amended Complaint are based on the

erroneous legal conclusion that the federal doctrine of navigability-for-title provides

Plaintiff a right of action to enforce its fishing rights in navigable streams, the

Court should not certify any question to the Colorado Supreme Court and should

instead dismiss the First Amended Complaint.

                                    CONCLUSION

      The Motion for Certification to the Colorado Supreme Court should be denied.




                                            9
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 10 of 11




       RESPECTFULLY submitted this 9th day of October, 2018.

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                                      10
Case 1:18-cv-01710-KMT Document 44 Filed 10/09/18 USDC Colorado Page 11 of 11




                            CERTIFICATE OF SERVICE

        I certify that on October 9, 2018, I electronically filed this Response to

 Plaintiff’s Motion to Certify a Question to the Colorado Supreme Court with the

 Clerk of the Court using the CM/ECF system, which will send notification of the

 filing to the following:

               Alexander Neville Hood
               TOWARDS JUSTICE—DENVER
               Counsel for Plaintiff Roger Hill

               Kirk Holleyman
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                                                              /s/ Nan Edwards




                                            11
